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                                   STATEMENT OF FACTS

    1. Your affiant, Alexandria Thoman, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and is assigned to the Baltimore Field Office, tasked with investigating
criminal activity in and around the Capitol grounds. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

    2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

    3. On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the United States Senate were meeting in
separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

   4. As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

    5. At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

    6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

   7. During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

    8. Following the events of January 6, 2021, the FBI published numerous “be on the lookout”
(“BOLO”) bulletins asking the public for assistance in identifying individuals who participated in
the riot at the Capitol. On or about January 7, 2021, the Office of the State’s Attorney for Harford
County in Bel Air, Maryland submitted a tip to the FBI that facial recognition software identified
two Maryland residents as possible matches for BOLO photo # 14, published by the FBI on
January 6, 2021. A copy of the BOLO and a standalone of photo #14 are provided below:




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  9. One of the two potential matches was identified as ROBERT REEDER. REEDER’s
Maryland Motor Vehicle Administration (MVA) photo is provided below:




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    10. On or about January 19, 2021, REEDER, through counsel, contacted the Government
and provided a compilation video of photos and videos taken by REEDER on his cell phone on
January 6, 2021. The video, approximately 22 minutes and five seconds in length, appears to be
in chronological order, and begins with a timestamp of “10:40am -10:47am.” Photos and videos
show REEDER in a crowd on what appears to be the National Mall. A video with a timestamp of
“12:04pm” shows what appears to be a projection screen of President Trump’s speech to the crowd.
Videos and photos with timestamps “1:17pm-2:23pm” show REEDER approaching the U.S.
Capitol with the crowd.

    11. At approximately 8 minutes in the compilation video, timestamp “2:31pm-2:40pm,”
REEDER, with the camera facing him, appears to be on the steps of the Capitol grounds. REEDER
states: “We’ve been getting tear gassed...thousands of people.” A screenshot of the video is
provided below:




   12. At approximately 8 minutes 25 seconds in the compilation video, timestamp “2:31pm-
2:40pm,” REEDER, with the camera facing the Capitol building, seemingly chants: “Fight for
Trump!” A screenshot of the video is provided below:




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     13. At approximately 8 minutes 45 seconds in the compilation video, timestamp “2:31pm-
2:40pm”, REEDER approaches an open door of the Capitol. A high-pitched alarm can be heard.
Capitol Police Officers are seen standing along the wall in the entrance. At approximately 9
minutes, from what appears to be inside the threshold of the building, REEDER approaches
Capitol Police Officers and seemingly asks: “Is there anywhere where I can get water?” An officer
responds: “We don’t have any water in here, sir. There’s some outside.” REEDER then walks past
the Officers, opens an interior door, and proceeds into the Capitol building. A screenshot from the
video is provided below:




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    14. From inside the Capitol, REEDER takes numerous photos and videos from various
rooms, hallways, and balconies. At approximately 11 minutes 10 seconds in the compilation
video, REEDER seemingly shouts: “Do not destroy anything!”

    15. At approximately 13 minutes 30 seconds in the compilation video, timestamp “2:48pm-
2:58pm,” from what appears to be outside the Capitol building, REEDER seemingly asks Capitol
Police Officers: “Quickest way out?” REEDER is then redirected by Officers. REEDER then
states “we’re trying to get out of here.” One Officer appears to tell REEDER, “As soon as you get
to this...ambulance and stuff, it’s real easy to get out.”

    16. However, instead of leaving the Capitol grounds, REEDER seemingly returns to the
Capitol building. At approximately 14 minutes 55 seconds in the compilation video, timestamp
“3:10pm-3:38pm,” REEDER seemingly chants “USA!” with the crowd as he approaches the open
doors to the Capitol building. A screenshot of the video is provided below:




      17. At approximately 15 minutes 22 seconds in the compilation video, timestamp “3:10-
3:38pm,” REEDER is again within the Capitol building. REEDER appears to be within and near
the Capitol rotunda near confrontations with Capitol Police Officers. At approximately 17 minutes
in the same compilation video, REEDER records an assault on a Capitol Police Officer. At
approximately 17 minutes 28 seconds, REEDER seemingly tells the Officer: “You need to
retreat!” A screenshot of the video is provided below:




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    18. In a video at approximately 19 minutes 40 seconds in the compilation video, timestamp
“4:05-4:30pm,” from outside the Capitol building, REEDER tells the camera: “I’m leaving now...
I got tear gassed at least four times inside the Capitol...I saw the lady they say got shot, I walked
right past her in a pool of blood. And it’s just...completely crazy in there.” At approximately 19
minutes 59 seconds in the same video, REEDER states: “Just left the Capitol, I was one of the last
people out. I was in there for over half an hour. I got gassed several times inside the Capitol, many
times outside the Capitol. Got shot with pepper balls. It was fucking nuts. We had to do...ah...
battle with the Police inside. It was crazy...absolutely insane.” A screenshot of the video is
provided below:




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    19. Based on the foregoing, your affiant submits that there is probable cause to believe that
ROBERT REEDER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

    20. Your affiant submits there is also probable cause to believe that ROBERT REEDER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



_________________________________
Alexandria Thoman
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of February 2021.
                    2021.02.24
                    14:33:45 -05'00'
___________________________________
ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE




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